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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            8:13-CR-254

vs.
                                                          ORDER
ROGER ABBOTT,

                 Defendant.


      This matter is before the Court on the United States' motion to dismiss
the indictment without prejudice, as it relates to defendant Roger Abbott.
Filing 71. Pursuant to Fed. R. Crim. P. 48(a), the United States' motion to
dismiss is granted.

      Dated this 25th day of November, 2013.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
